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                       UNITED STATES DISTRICT COURT
                      For the District of New Jer~•Y



ORGANIC PAGANS,   :                                              ~~::
                                                                 .....
                                                                         '.":' •j
                                                                         \..•   ..-:....



                           Plaintiffs,        ..
     v.                     :                       Civil No.:

NEW JERSEY, PHIL MURPHY, CHRIS CHRISTIE,               ..
GARY LANIGAN, MARCUS HICKS, MICHELLE           ..
RICCI, STEPHEN D'LLIO, STEVEN JOHNSON,         ..
                                                            COMPLAINT
RASUL SALUKI, WARREN WILCOX, JOHN DOE,        ..
THE UNITED STATES OF AMERICA, RUTGERS,        :
DAVE HOFFMAN, and JPAY,     :
                                                     Jury Trial Demanded
                           Defendants         .

     1. This is a civil-action complaint brought forth by Frank

Castaldo, who is an Organic Pagan.       Throughout this complaint,

Frank Castaldo represents approximately forty Organic Pagans

in the New Jersey prison system and six Organic Pagans outside

of prison.    Frank Castaldo is presently incacerated at East

Jersey State Prison.      Collectively, Frank Castaldo, some forty

Organic Pagans living in the New Jersey Department of Corrections

system, and six Organic Pagans living outside the New Jersey

Department of Corrections are referred to hereinafter as

"Plaintiffs."

     2. Plaintiffs assert jurisdiction pursuant to 42 U.S.C.

§ 1983,   the RLUIPA, the RFRA, pendant jurisdiction, and any

other available authority.      Plaintiffs seek punitive,

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compensatory, nominal, declaratory, and injunctive relief, and
a temporary restraining order.
     3. Defendant Number One is THE STATE OF NEW JERSEY.
Defendant Number One is involved in this case as a result of
not recognizing Plaintiffs' religion and creating substantial
burdens on Plaintiffs who long to practice their religion.
     4. Defendant Number Two is PHIL MURPHY, whose official
position     is Governor of the state of New Jersey since January
of 2018.     Defendant Number Two is involved in this case as a
result of having acted in his individual capacity and official
capacity, and under color of state law, by instituting/approving
policies and procedures to cause, and/or being deliberately
indifferent to conditions and significant religious burdens
and deprivations caused to and placed on Plaintiffs from May
of 2018 until present, as described in this complaint.
     s.    Defendant Number Three is CHRIS CHRISTIE, whose official
position was Governor of the state of New Jersey prior to January
of 2018.     Defendant Number Three is involved in this case as
a result of having acted in his individual capacity and official
capacity, and under color of state law, by instituting/approving
policies and procedures to cause, and/or being deliberately
indifferent to conditions and significant religious burdens
and deprivations caused to and placed on Plaintiffs prior to
May of 2018 until present, as described in this complaint.
     6. Defendant lumber Four is GARY LANIGAN, whose official
position was Commissioner of the New Jersey Department of

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Corrections ("DOC") until the spring of 2018.          Defendant Number
Four is involved in this case as a result of having acted in
his individual capacity and official capacity, and under color
of state law, by instituting/approving policies and procedures
to cause, and/or being deliberately indifferent to conditions
and significant religious burdens and deprivations caused to
and placed on Plaintiffs, as described in this complaint.
     7. Defendant Number Five is MARCUS HICKS, whose official
position was Chair of the Religious Issues Committee ("RIC")
until the spring of 2018, and whose present official position
is acting Commissioner of the DOC since the spring of 2018.
Defendant Number Five is involved in this case as a result of
having acted in his official capacity and individual capacity,
under color of s~ate law, by instituting/approving po1icies
and practices to cause, and/or being delibera••ly indifferent
to conditions and significant religious burdens and deprivationi:
caused to and placed on Plaintiffs as described in this
complaint.
     8. Defendant Number Six is MICHELLE RICCI, whose official
position is acting member of the RIC for the DOC and designee
for the Commissioner of the DOC for all times relevant to the
claims listed in this complaint.         Defendant Number Six is
involved in this case as a result of having acted in her
individual capacity and official capacity, and under color of
state law, by instituting and/or approving policies and practic•~s
to cause, and/or being deliberately indifferent to others under

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her control causing Plaintiffs to suffe• from the claims listed
in this complaint.
     9. Defendant Number Seven is STEPHEN D'LLIO, whose official
position is and/or was an acting member of the RIC and is
Assistant Commissioner of the DOC for all times relevant to
the claims listed in this complaint.       Defendant Number Seven
is involved in this case as a result of having acted in his
individual capacity and official capacity, under color of state
law, to cause, a"d/or having been deliberately indifferent to
others     causing the conditions and burdens described in the
claims listed in this complaint.
     10. Defendant Number Eight is STEVEN JOHNSON, whose official
position was Administrator of New Jersey State Prison ("Trenton"
or "NJSP") up until the summer of 2018.        Defendant Number E~ght
is involved in this case as a result of having acted          in his
individual capacity and official capacity, under color of state
law, by having instituted/approved policies and oractices that
caused. and/or having been deliberately indifferent to the
policies, practices, and actions that caused the Plaintiffs
to suffer the    conditions and religious burdens described in
the clA1ms listed in this complaint.
     11. Defendant Number Nine is Rasul Saluki, whose offir.ial

position was an acting member of the RIC for the DOC and head
Chaplain for NJSP prior to the end of 2015 and/or beginning
of 201n.    Defendant Number Nine is involved in this case as
a result of having acted in his individual capacity and official

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capacity, under color of state law, to cause, and/or having
been deliberately indifferent to the conditions and           religious
burdens described in the claims listed in this complaint.
        12. Defendant Number Ten is WARREN WILCOX, whose official

position is an acting member of the RIC for the DOC and head
Chaplain for NJSP after the end of 2015 and/or          beginning of
2016.     Defendant Number Ten is involved in this case as a result
of having acted in his individual capacity and official capacitJ,
under color of state law, to cause, and/or having been
deliberately indifferent to the conditions and          religious burdens
described in the claims listed in this complaint.
        13. Defendant Number Eleven is JOHN DOE, whose official

position is a staff member of Religious Services at East Jersey
State Prison ("EJSP") and/or Chaplain during the
spring/summer/fall of 2018.       Defendant Number Eleven is involvec
in this case as a result of having acted in his individual
capacity and official capacitv, under color 0f state law, and
with malice to cause, and/or having been deliberately indiffer•nt
to the claims listed in this complaint, and by having threatened
retaliation and then retaliated against P~aintiffs as described
in this complaint.
        14. Defendant Number Twelve is the ''NITED STA,..ES OF AMERIC1\.

Defendant Number Twelve is involve"' in this case as a result
of having instilled and selectively upheld or enforced laws,
rules, policies, and procedures that caused deprivation of
religious rights and denia, of equal rights to Plaintiffs as

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described in this complaint.
     15. Defendant Number Thirteen is RUTGERS, who provides
health care to prisoners within the D~c.         Defendant Number
Thirteen is involved in this c~se as a result of having acted
under color of state law and as an individual organization to
instill practices and policies that caused, and/or being
deliberately indifferent to the denial of religious rights,
denial of medical treatment, and the resultant suffering
descr~bed in this complaint.
     16. Defendant Number Fourteen is DAVE HOFFMAN, whose
official position was Engineer and head of the Repair Shop and
Maintenance at NJSP up until the spring of 2017.          Defendant
Number Fourteen is involved in this case as a result of having
acted in his individual capacity ~nd official capacity, unrter
color of •tate law, to cause, and/or having been deliberately
indifferent to the conditions and re~igious burdens described
in the claimA listed in t~i~ complaint.
     17. Defendant Number Fifteen is JPAY, who provides a tablet,
kiosk system, entertainment, and access to the DOC's grievance
system for prisoners in the New Jersey prison system.           Defendant
Number Fifteen is involved in this case as a result of having
acted in its individual and/or official capacities, under color
of state law, to ~ause, and/or having been deliberately
indifferent to the causes described in the claims listed in
thi~ complaint.



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     18. Plaintiffs previously sough~ informal and formal relief
from appropriate officials by submitti~g !otters and inquiry,
grievance. and appeal forms and kiosk entries to the
administration and compl•ining verbally and in ~ritin~ to the
~efendants at the prisons, attempting to call the ombudsman,
sending letters to the ombudsman, filing Notice of Tort Claim
forms, writing the DOC rommissioner, sending formal complaints
to the state Gov•rnors a"d their affiliat~s, pe~itioning the
United States Government for R•ligious Exemntion and Recognitinn,
and having loved ones and spiritual leaders call and mail le~ters
an~ a•tachments to the DOC's c~mmissioner, acting Commissioner,
the Administrators of NJSP and EJSP, memhers of the Religious
Issues Committee, Lt. Governor, and Governor.
     19. Paragraphs 1 through 18 are incorporated as if set
forth in full throughout this Complaint.
     20. Within the state of New Jersey, its DOC, and the United
States of America, Defendants One through Twelve have deprived
Plaintiffs of all necessary means of safely and legally
practicing or expressing their sincerely held religinus beliefs
as Organic Pagans, whirh is a class of pagans that includes
but is not limited to Organic Odinists, Organic Odians and
Godians, Organic Asatr .. er, Organic Heathens, Global Shamans,
Guardians of Diversity, Pagan Buddhists, Organic Heathens, Allit·d
Kindr~d, OrRanic Hindi, Organic S~intoists, Organic Shaivites,
Organic Wiccans, Organic Druids, Organic Native Americans,
Organic Indo-European Americans, and Organic Inward Eighters.

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Within the DOC, there are over five hundred known pagan inmates,
and some forty of them identify as Organic Pagan Prisoners,
who are distinguished from ordinary pa~ans as described in the
following paragraphs about Organic-Pagan beliefs.
     21.   Plaintiffs in this case sincerely believe that they
~ust perform all the rites listed in this complaint and appendiJ,
and all rites listed in the various pagan publications on Organic
Pagan Rites, which Plaintiffs are currently not allowed to
perform.   Plaintiffs believe failinR to perform these rites
at specific times and in specific ways will result in cosmic
chaos and personal spiritual failure.        Plaintiffs claim that
the Defendants listed in this complaint, as well as any whn
can be identified and named after discovery, have 1) prevented
Plaintiffs from practicing their religion in violation of the
First Amendment to the Co~stitution of the United States as
described in this complaint, 2) have created significant
religion-related burdens on Pla~ntiffs in violation of the
Religious Land Use and Institutionalized Persons Act of 2000
("RLUIPA") as described in this complaint, 3) have deprived
Plaintiffs of equal protection of the law in violation of the
rourteenth AmendTent to the Constitution o~ the United States
and ~LJJTPA as described in this complaint, 4) have subj•cted
Plaintiffs to cruel and unusual punishment in vio1ation of the
First Amendm•nt to the Constitution of the United States;
Plaintiffs also claim that said Defendants have violated
Plaintiffs' rights as described in this complaint under the

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nrotection of supplemental and/or pendant ~urisdiction in
violation of the New .lersev Constitution, the New Jersey Torts
Claims Act, and the religious and equal-protection rights
guaranteed therein.
     ··~o   Plaintiffs are animists who believe they are part of
a : !ivine things i~ the circle of life wi•hin Nature, and as
~uch they must p~rform spe~ific shaman~c rites to help
participate in kee"ing the cosmos in proper order; these rites
include but are not limited to ritually preparing for and
performing six daily sun-wheel-turning rituals (at least one
of whtch muet be o-rformed outdoors), eight moon-maintenance
rites each month (with two being performed indoors every
fortnight on the new moon and full moon, and the other six being
performed outdoors), and eight outdoor seasonal sun-whe•l-turning
rites each year.
     23. Plaintiffs believe they have to observe daily outdoor
worship in the name of each of the days of the week that have
been named after the pagan deities: Sun's Day, Moon's Day, Tyr•s
Day, Woden's Day (or Odin's Day, or Godin's Day), Thor's Day,
Frigga's Day (and Frey and Freya's Day), and Saturn's Day.
Each of these days has its own rites geared toward its designated
deity or deities, and each day has specific deities within it
who represent the stations of the day when different rites must
be performed in order to keep the cosmic order in rotation.
Honoring these deities requires specific rituals, including
rune yoga postures, that cannot be done in a cell that lacks

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the room needed and contains impurities from an open toilet,
cannot be done without a rune-yoga mat, meditation mats, pillows,
and cushions, and cannot be done without the presence of the
other items and conditions listed in this complaint and the
referenced Organic Pagan literatn•e.        For Organic Odian members
of the Plaintiffs, the sun must be greeted outdoors at least
one time a day for six of the dayA of the wee~, but on Woden's
Day, the entire day must be devoted to Outdoor One-Harrier rites
that begin with morning Ragnarok Exercises (resistance training);
every Woden's Day must end with an indoor Congregate Sumble
servir• followed by persoftal research meditation rituals; every
Sun's Day must include greeting the sun at dawn, saluting her
at noon, and bidding her good-night at dawn; and every Moon's
Day must include a~ outdoor greeting to the moon after sunset
(prefer•hly in the ~utdoors, but the alternative of performing
the rite through glass in darkness has been suggested by
incarceraterl Plaintiffs, who are more th~n willing to adjust
to security concerns when said concerns are legitimate).
     24. The eight yearly outdoor sun-wheel-turning holy day
ceremonies that must take place on precise dates for the Winter
Solstice {approximately December 21st), the Spring Turnin2
(February 1st), the Spring Equinox (approximately Marc~ 21st,
but falling on the 20th in 2019', the Summer Turning fMay l~t),
tnc "'ummer Sols·i~e ( a nproximAtel y JllD':: 21 ~t), the Summer TnrninE:
(Augus   1st), the Fall Equinox (apnroximately Seotember 21st,
but falling on the 22nd in 2018 and the 23rd in 2019), and Wintet·

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Turning (Nove~her 1st).     These rites must be performed outrloo~s,
and thev must take place ov•r the couPs~ of two days, wit~ •h•
main rite taking nlace on the pr@cise date of t~e qolar event.
     25. Performing these rites requires specific seasnnal p1ant
and animal foods qnd drink~. and specific items that Plaintiffs
are not curren•ly permitte~ to possess or use, in~lu'ing but
not limited to corresporoing plants foods that begin ~s nArts
of liv~nR olan~Q and are then ceremoniouslv chosen (via rune
castings), harvested, and turned into bannocks, bread-beasts,
and animal crackers that must be sacrificed in lieu of animals
on each sun blot.    Each sacrifice must cnn~~in spec~fic foods,
drinks, ~olors, images, scents, sounds, acti~ities, and textures
that correspond to the meanings of each Blot and the season
or seasons in which each Blot ~akes place.         All people who atten~
the rite are required to bring at least three types of toKen
offerings to be used i~ the rite; the offerings must consists
of a form of food or drink, a form of art, and some type of
seasonally appropriate craft.
     26. For each of the daily, weekly, mon•hly, and seasonal
turning points in the sun wheel and the moon phases, the Laws
of Correspondences must be applied.       Each holy tide's specific
traditions, decorations, songs, and food and drink o~ferings
are key factors in these daily rituals and seasonal
sun-wheel-turning and monthly moon-maintenance ceremonies.
At least one of the daily rites must take place outdoors, and
offerings must be ceremoniously brought out for the Nature

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deities (also referred to as Nature Spirits, Land Spirits, and
Land Wights) every day.
        27. Plaintiffs believe they must protect the goddess Jorth
(the earth) by consuming and/or using only organic foods and
water, and by using only natural soaps, detergents, clothing,
ritual items, bedding, and other natural products.           No
accommodations are made for Plaintiffs 1n the DOC.
        28. Plaintiffs believe they must create and maintain
physical and metaphysical hygiene with specific organic
purification rites for their sanctuary areas and items through
the use of items     and products that include but are not limited
to vinegar, iodine, die.ti 1 lerl water, sea salt, fir-. incense,
oils, saf~ oral hygiene products such as d-ntal floss and 1)aking
soda. and hydr~gen peroxide.       None of •hese items are permitted,
and no access to them is granted.
        29. Plaintiffs believe they ~ust perform herbal-medicine
and plant-magic rituals and avoid all forms of unnatural medical
practices.    None of this is perm~tted for Plaintiffs in the
DOC, and the opposite is often forced through mandatory TB t•sts,
X-rays, blood tests, prescriptions, et~.
        30. Plaintiffs believe they must maintain natural indoor
and outdoor g~rdens and have sauctuaries that consist of a World
Tree, a Sacred Well, a Sac-ed Fire, a SacTed '.,ibrary and Study
area, spaces for private quiet meditations, and an •xercise
area.    Despite that •here arc r.arden areas in almost all of
the prisons and a greenhouse in EJSP. ~nd indoo~~ plants in all

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prison~, Plaintiffs in the prison system are not allowed to
have plan•s or acc~ss to plants, ev~n though they can be aronnd
the plants from oth~r religions that do~'t require plan•s.
      31. Pla•ntiffs believe they cQnnot con~ume any foorls or
water that have be~n cnn~aminated with synthetic chemi~als,
a"ct •hey cannot have their plant foorls heated above 117 degrees
~~   prepared m~re than three hours prior to being consumed.
~o access to organic ro~ds or spring water is available, and
n~ meal accommod•tions are mAde.         Furthermore, no medic•l
treatment is provided for the nutritional deficiencies tha~
result from the lack of organic foods ~nct the dehydration
produced by the Plaintiffs being prevented from having a natural
and organic diet.
      32. Plaintiffs believe some of their ritual and ceremonial
meals must be maid up of exclusively liquid plant foods that
cannot be preDa~ed with any containers or utensils that have
ever been in contact with any animal products.          Ritual food
preparation and other such considerations are permitted for
Jewish, Christian, and Muslim prisnners, but not for Plaintiffs.
      33. Plaintiffs believe they mus• keep living plants and
o•hrr ~embers of their Nature Congregation around them at all
ti es and they be 1 ieve they must me~itate with living plants
and other members of their Nature Congregation several times
a day, including but not limited to plant presence du•ing
sleeping rituals and the practice of morning exercises (such
as rune yoga), which require a mat and a cushion directly next

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to plants and direct sunlight, none of which is permitted,
despite that Native American prisoners can go outdoors for
services and Muslim inmates can have prayer mats in their cells
and entire areas covered with rugs for services.
     34. Plaintiffs believe they must feed, raise, hunt, fish,
trap, and gather seasonal foods to perform their rites.           They
are deprived of all access to any of this in the DOC and on
parole or probation.
     35. Plaintiffs believe they must perform daily
mirror-scrying rituals.     Prison Plaintiffs are often not
permitted to have flexible mirrors, despite that they pos~ no
risk in Administrative Segregation ("ad seg").
     36. Plaintiffs believe they must perform rites that involve
the complete production and absorption of "Sacred Substances"
often described as "mead" and "Soma," but meaning all forms
of natural plant products that range from tobacco and teas to
alcohol and cannabis, which have been discovered and used as
part of global-shaministic rites for hundreds and sometimes
thousands of years.
     37. Plaintiffs believe they must use specific ritual and
ceremonial items that include but are not limited to: a mortar
and pestle; a blender; offering ~o~:s; spoons; lad1es; cau1drons;
run~ staves; ru~c ':i1eq; ~un• stones: and rune cards; casting
cloth; al•ar made of s•one or wood; altar cloth: stools made
of wood; musical instruments (minimally a stringed ins•r:tili~nt,
drum, flute, and bell): crlored candles; cloak; soil; sea salt;

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yeaqt; fresh and natural sprin~ w~•er; he~hs; spices; oils;
incense; Tro~h Rings (for fingera a1:1 fo• ceremonial use); Arm
Ring (for upDer arm)! Thor's Hamme? to wear and Thor's Hamme~
for ritua: u~e: Sacred Su~stances, (including but not limited
to fermented and distilled beverages, tobacco, and cannabis):
pipe; feathers; fresh twios, bran~~e       0   and leaves; nuts; seeds;
grains; fruit; roots, vegetables; ber•ies; ~uahrooms; buds;
fire-starting kit; m•dication beads; a•t aupolies.           Plaintiffs
in the DOC are permitted at best to possess only a personal
Thor's Hammer, hut they must     RO   against their beliefs by hiding
it under thei~ shirts, whereas        other religious symbols for
other prisoners can be displayed, and other prisoners of uther
faiths are permitted to have identir-al if not comparable
items/proJucts/access for their religions.
     38. Plaintiffs believe they must create and use ritual
and ceremonial musical items with natural materials.           This is
not permitted for Plaintiffs in the DOC, though it is permitted
for members of the Christian religion, who are given various
times to use musical instrumencs in all the prisons, are allowed
to possess them in their cells in EJSP without a waiting period,
and are allowed to play in a band and have a band play during
various Christian services.
     39. Plaintiffs believe they must produce ritual art every
day with natural materials, but can rarely do so in the DOC.
     40. Plaintiffs believe thev cannot share living space or
sacrifice space with anyone who fails to perform the

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Organic-Pagan form of physical and metaphysical hygiene, or

anyone who practices any form of anti-pagan supremacism and/or

intolerant religions or wears any hate symbols including but

not limited to Christianity and the crucifix, and any other

Peligion and symbol that hav~ been used to suppress and/or

destPOY Organic Paganism an~/nr torture an~ ~~11 its ad~e-ents.

     41. piaintiffs in the DOC are forced to live with others
in cells wh~·e Plaintiffs cannot perform any form of religious

rites due to fnmates in t~e cells having different hvgi ne

practices and/or a lack thereof, performing con':rary religious

practices, displaying anti-oagan hate symbols and listening

to and singing Anti-pagan religious music that is offe~sive

ann nrevents Plaintiffs from being able to have a ritually pure

area or being able to concentrate during any attempted meditation

or ritual studying.     Members of other religions who have been

subjected to hate symbols, speech, and music are not forced

to ennure such a religiously hostile and offensive environment.

Defendants Four through Seven do not allow for Plaintiffs to

b~ moved to single cells or choose fel,~w Organic Pagans to

lock with, and they are subjected to long periods where they

are forced to live in such religiously hostile enviPonments,

sometimes without being able to leave the cells for weeks at

a time during lock downs and for longer periods.

     42. Plaintiffs believe they must participate in religious

games of chance for ritual purposes, but this is prevented in

DOC, or outlawed and/or too costly and difficult for Plaintiffs


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to do outside DOC.

     43. Plaintiffs believe they must ~ractice certain rites

that renuire them to participate freely and in a religiously

appropriate manner in such things as birth, naming, coming of

age, sexual education, stimulation, and gratification, marriage,

divorce, land management, death and funerals.          These rites are

not honored in any way by Defendants One through Thirteen.

     44. Plaintiffs believe they must never use money to purchase

anything related to their religious rites, or otherwise have

religious rites associated with money, but they are prevented

by Defendants One through Eleven from creating their own

religious items or pP•forming rites that allo~ them tn nractice

their sincerely held bPliefs with~ut the use of money.

     45. Plaintiffs helieve they must perform ritual baths in

areas that arP not used hv Anyone whn does not belonR ~o their

religiou~ co·~muni~ies.    Plai~tiffs in the DOC are not 2iven

the abilitv to have ritual baths and instead must ~h"wer in

areas where othe- neonle's waste ~Pts a~lashed ~11 over

Plaintiffs and thei• clothes, And there are no are~s to keep

clnthes sn ~hPJ are not ~plashed in the sh•1wer areas, where

there is no space for ha~ging clothes or placing showe~ items.

     46. n•Gunic Pa an Plaintiff in the DOC are not given access

to the herbs and spices necessary to perform ritual baths.

     47. Plaintiffs believe they must rast during specific

periods, some of which must be determined ov rune castings.

These fasts are not honored and scheduling and 11rine tests often


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interfere with ~he fasts and force Plainti&fs to break the fasts
                                      1
to avoid being given institutiona          charges.

     48. Plaintiffs believe their ritual areas must never be 1ocated

near toilets or in areas where human was~e CAn be sp1a~hed.             Toilets

in the prisons do not have lids an~ are inches away from th• bunks,

and bndily waste is sp~ayed all over the r.ells and Plain~1ffs in

the DOC when the toilets are flushed.

     49. Plaintiffs believe they must never excr•te their bodily

waste in front of any other human.             This sincerely held belief cannot

be honored in the DOC where Plaintiffs are forced to double lock

and forced to urinate in front of staff members instead of being

checked and placed in privacy for urine tests.

     so.   Plaintiff often must choose between recreation and mess

movements or yard movements in the DOC because Plaintiffs Four

through Eight and Defendant Thirteen schedule Plaintiffs for passes

and other appoin•ments that conflict with recreation and mess

movements.

     51. Plaintiffs believe they must never choose non-religious

activities over religious activities, but they are often required

to go on passes to medica 1 and other areas within the DOC because

Defendants Fnur through Eight and Defendant Thirteen often schedule

Plaintiffs for passes an~ other &!'pointments 1~1.:,t conflict dL"

Plaintiffs' personal religi~us obliga~ions and study groups an'

feast call outs.

     52. Plaintiffs believe they must never submit to the authority

of any specific soiritual leader without having the freedom to


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practice their beliefs according to individual preferences.

       53. Some Organic Pagans, including most of the Plaintiffs within

the   no:,   believe they mus• perform certain ritu~ls that prevent

their intense meditation ri•uals from ~eing intArrupted from the

existence of scents and impurities that are trapped in hair and

under finger nails and toenails.       As such, those Plaintiffs believe

they must shave their heads and most of their facial hair every

day, cut their finger and toenails every day, and keep only eyebrows

and a shortly groomed 2oat-tee at most on their heads/faces.

Plaintiff in the DOC are not able to perform these rites, and often

can't groom themselves for week~, months. and even years in ad seg.

       54. Plaintiff3 within the DOC have not been given the space,

time, considera•ions, equal treatment, or items necessary to perform

any of the aforementioned rites or to otherwise exp~ess A~d/or

practice any of their sincerely held beliefs as described in their

publications.     In nearly every instance, Plaintiffs have proposed

alternatives to any potential security concerns, but the Defendants

have categorically denied all of the requests with boiler-plate

language about security concerns or by ignoring any requests.

       55. Defendants One through Eleven have failed to allow, and/or

been deliberately indifferent to others failing to allow Plaintiffs

to practice and/or exoress all of the aforementioned sincerelv held

beliefs by way of failing to allow Plaintiffs to observe tnese rites

and otherwise practice/express their sincerely held beliefs.

       56. The DOC n~s ~eligious books within their libraries and

chapels for nearly every religion, but none for any pagans.            Funds


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and resources are used for t~e purchase and maintenance of these

religious books, but no such equal treatment is provided for

literature about Plaintiffs' beliefs, despite that Plaintiffs havfi

donated their own literature several times, which was not displayed

and has gone missing.

       57. Plaintiffs believe they must become organic vegans durinE:

certain periods (especially during the month of November), and some

be:ieve they must maintain an organic vegan lifestyle at all time!:

except during holy day feasts when ritual animal foods are necess~ry,

but this is not possible to any extent for Plaintiffs within the

DOC.   No organic foods or beverages are provided or permitted, anc

there is no way to maintain proper nutrition as a vegan even on

the vegetarian diet which is set up for Muslims and is the only

alternative that was ever given to any of the Plaintiffs in the

DOC.   Aside from not being organic, not being prepared according

the Organic Pagan laws for separating containers and utensils for

plant and animal foods, and not containing foods that are served

within three hours of preparation, the Muslim diet provided to ve~an

Plaintiffs in the DOC contains eggs, cheese, milk, and various otter

dairy products that have no actual vegan protein replacement.            In

contrast, the entire commissary and regular diet within the DOC

conform to the Jewish and Islamic religious rules regarding not

having pork, and conform to the Christian diet of having fish on

Fridays.   There is not a single beverage or food items sold or

provided that is organic and/or natural, within three hours of

preparation, or otherwise fit for Organic Pagans to drink or eat.


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Plaintiffs have offered the alternative of paying for their own
meals and ritual offerings until there is a ruling from the Religious
Issues Committee about organic foods, a vegan diet, and natural
ritual offerings, and Plaintiffs have even agreed to limit their
food and drink purchases tn only the vendors who are already approved
by the DOC for food package orders and other source-of-sale orders
that have been previously approved, but this has also been verbally
denied and ignorPd on paper by the Defendants.         The DOC allows all
prisoners who are charge free for a year to order food packages
twice a year, allows prisoners who are not charge free to order
smaller food packages twice a year, and allows prisoners entered
into the STEP school programs to order and receive extra incentive
food packages two more times per year.        Muslims are allo~ed to hav,e
special foods every night of their month-long fast and during their
additional holy day meals throughout the year, and Jewish inmates
are provided with sealed Kosher trays three times        A   day.   There
is no security concern and no financial concern with allowing
nlaintiffs within the DOC to order and receive organic foods and
drinks from approved vendors unt~l there is a ruling as to what
foods and drinks will be provided for Plaintiffs who sincerely
believe they must maintain an organic vegan diet of raw plant foods
And drinks that have been prepared within three hours of being
consumed, and Plaintiffs who believe their aforementioned sacrific,es
must consist of living organic foods and drinks.
     58. Defendants One through Eleven have failed to allow, and/or
been deliberately indifferent to others failing to allow Plaintiffs

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to practice and/or express their sincerely held beliefs by way of
ruling that Plaintiffs cannot have any Sumble. Blot, or other
"worship" unless there is a volunteer from the free world who will
be approved, come into the prison, and oversee the services.
     59. Plaintiffs in the DOC rarely have any spiritual leaders
who are located near the prison, able to be approved and/or are
willing to come into the prisons, so Plaintiffs in the DOC            are
being deprived of services as a re~ult of being a minority religious
group.   The DOC's Internal Management Procedures ("IMP") for
religious services state that "Congregate services must be supervised
by the Chaplain or an approved volunteer." but the Chaplain at EJSP
(Defendant John Doe) will neither supervise any Tndo-European pagan
services nor instruct one of the other approved volunteers to do
so, despite that the Chaplain supervises other services and instructs
other volunteers to supervise other services.         Defendants Two through
Eight have been and/or still are deliberately indifferent to these
deprivations and disparate treatment.
     60. The Native Americans at EJSP have congregate worship
services outdoors near the chapel every Friday morning, and they
are supervised by the Chaplain and/or other volunteers who are not
Native American, and they are permitted to smoke tobacco near living
plants and on grass outside the EJSP chapel once a week, without
a Native American volunteer coming from the outside world.
     61. Thus, Defendant John Doe refuses to do what he is obligated
to do according to the existing IMP for Odinists/Asatru Plaintiffs
and Wiccan Plaintiffs, he refused to allow candles, flames, and

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tobacco for said Plaintiffs but allows them for others faiths, an~

he refuses to allow services to be conducted outdoors for said

plaintiffs but allows them for Native Americans, and he allows plants

for other groups (both indoor and outdoor) but not for Plaintiffs.

     62. Defendants One through Eight have been and/or are s~ill

deliberately indifferent to the aforementioned actions and inactic,ns

of UPfendant Number Eleven.

     63. In violation of Plaintiffs' rights ~o enual oro~ection,

Defendants On° through Eleven have allowed members nf •he J~wish,

Christian, and Islamic faiths,      but have not allowed Plaintiffs to

observe holiday rituals that take place according to specifir times

within the celestial calendar and with specific foods, including

dates to break Islamic fasts, fish on Fridays for Christians, and

no pork sold or served.

     64. Defendants One through Eleven prevented Plaintiffs from

possessing watches or other time-keeping devices that are needed

in order for the rites to be conducted on time.          Watches are not

perm:tted in some places, and cannot be purchased on Level-I in

ad sPg ("ad seg"), and there is no way to quickly replace broken

watches or dead batteries, so even if the watcheQ are available,

long periods   without the ability to perfo~m daily rites on time

take place.

     65. Defendants One through Eleven know but ignore that

Plaintiffs in the DOC require hot water for ritual purification,

but it is not available at necessary times and in some instances

not available at all for weeks, months, and years at a time in ad


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seg.     Additionally, accommodations for hygiene practices in other
faith groups are made, including pork-free products, but no natural
sanitation and hygiene products are provided or allowed to be
purchased and retained by Plaintiffs.
        66. From winter to fall of 2018, Defendant Number E1 even
deprived Plaintiffs of any IMP approved religious services at EJSF·,

gave them inappropriate "feasts" only four times a year on the wrcng
solar dates, and denied them equal treatment of weekly and outnoot
services, weekly band practice and musical equipment acress, ~nn

necessary daily, monthly and seasonal ceremonies, and otherwise
subjerted them to disparate treatment.        He also retaliated against
Plaintiffs by threatening to and then canceling pagan call outs,
changing Godian services to a study group, having cells searched
and religious literature seized, having approved items/books never
obtained, and having some Plaintiffs moved to unfavorable places
within the prison and mixed with contrasting groups on improper
dates and improper areas with no access to necessary items if the)
mention him in any more complaints, inquiries, grievances, and
appeal   0    (after they did so again, his threats were carried out as
stated).        He then threatened to worsen his retaliation by having
some Plaintitfs shipped out of EJSP and/or locked up on trumped-u1•
charges.        All of this has resulted in some Plaintiffs 1) no longe1·
or not going to study groups and solstice and equinox gatherings

2) no        longer or not writing up not having services/items, and 3)

not being given equal access to items, outdoor areas, musical

equipment and practice time, etc.

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     67. Despite full exhaustion of all available remedies and

additionally being notified in other ways, Defendants One, Two,

Three, and Twelve have not allowed for equal or any other form of

legal exemption for Plaintiffs to produce, possess, use, and share

any "Sacred Substances" that are required for Plaintiffs' rites,

including rites that require the production, possession, use, and

exchanging of alcohol, distilled spirits, cannabis, certain

mushrooms, and tobacco, especially with respect to the Plaintiffs

who are incarcerated or have been incarcerated and paroled, and

all Plaintiffs who cannnt use money to perform these rites.

     68. Despite several requests and full exhaustion of all

available remedies anA aAditionally being notified in other ways~

Def~n~ants One, Two, ~~ree, and Twelve have not Allowed for equal

or any other form of legal exemption for Plai~tiffs to prnduce,

nossess, ~se, and share any form of hunting, fis~ing, and trapping

items and rites, especially with respect to the Plaintiffs who have

been convicted of felonies, but also with respect to all Plaintiffs

who cannot use money to pay for the ability to perform these rites.

     69. Defendants One and Twelve have used archaic laws and refused

to acknowledge new evidence that shows cannabis is not dangerous,

has medicinal benefits, and should not be treated as a schedule-One

drug, which has resulted in Plaintiffs not being able to freely

use it for ritual purposes, which additionally results in the denial

of medical treatment and has resulted in several of the Plaintiffs

suffering from pain and depression that would otherwise be treated

according to the restrictions of their sincerely held beliefs.


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     70. Defendants Tl,frteen and One refused to allow Plaintifts
in the DOC to be treated with medical marijuana and refused to allow
for Plaintiffs in the DOC to be given alternative medical treatment
and attention that does not renuire Pla~ntiffs to have their bodies
invaded, tainted, or otherwise impacted from unnatural medical
practices that include, but are not limited to chemical cough drops
instead of natural cough suppressants and natural lozenges, chemical
pain relief instead of physical craining, chemical mental-health
medications instead of therapy and natural alternatives, and sunlight
to treat Seasonal Effective Disnrder, back pain, and other effects
r~lated to lack of sunlight, especially for Plaintiffs ,.ho have
suffered from these problems in ad se2 where some units have no
light and outdoor recreation is often taken for months and years
at a time and at best is only once every five to six days.
     71. Defendants One, Rasul Saluki, Warren Wilcox, and John Doe
prevented Plaintiffs from performing rune-yoga postures and other
meditations that require access to the outdoors, the elements, plant
life, and the use of a high seat with a feather-stuffed cushion,
cloaks to cover their faces and bodies, full-size yoga mats,
meditation pillows, an~ three-legged stools.         Plaintiffs were neither
given the space nor the aforementioned items.         Plaintiffs Christie,
Murphy, Lanigaa,   Hicks, D'llio, Ricci, and Johnson were deliberately
indifferent after having been made aware of the situation and done
nothing about it during their times of superiority.
     72.   Defendants One, Rasul Saluki, Warren Wilcox, and John
Doe prevented Plaintiffs from performing mandatory organic plant

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rites that require Plaintiffs to possess and sprout seeds, tend
to and be near plants, cast runes to determine which plants will
offer their narts up for sacrifices, have a mortar and pestle and
blender to liquefy the ~elected plants, have a group cauldron to
collect the liquefied plant offerings, have three bowls of natural
material to separate the sacred liquids, have an a 1 ter to present
them, have musical instruments for playing durin2 the sacrifices,
have art supplies for creating items to be sacrificed, have acces!:
to the fire god <Loki), sacred water, soil, body paint and colors,
and the other items and materials listed in the attached appendix
an~ other information from Organic Pagan publications.              Plaintiff!:
were neither given the space nor the aforementioned items.

Plaintiffs ~hristie, Murphy, Lanig~n, Hicks, D'1l~a, Ricci, and
Johnson were deliberately inuifferent after having been ma: 7 e awarE·
u& the situat :on and done n,1t:hing about it d•,ring th,,:ir times of

 uperiority.
        73. From Sentemher 21, 2016 through to the present,           'cfendants
On     through Eight were responsible for ~nrl/or deliberAtelv
indifferent to the nrPvious and following conditions that preventt!d
Plaintiffs from practicing their religion, or otherwise subjected
Plaintiffs to significant burdens withi- the New Jersey Department
of Corrections.
        74. In that time, Defendants One through Eight and D~fendant

Fifteen were responsible for and/or deliberately indifferent to

Plaintiffs not being able to and/or being dissuaded from readily
and fully accessing the DOC grievance system and medical system


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through the JPAY kiosk to advance claims and have them remedied.

     75. From September 21, 2016 until his retirement sometime in

or around the spring of 2017, Defendant Number Fourteen caused and/or

was deliberately indifferent the following conditions of confinement

at NJSP, and caused and/or was deliberately indifferent to the

following conditions of confinement that prevented Plaintiffs from

practicing their religion and otherwise impacted Plaintiffs within

the DOC as prisoners.

     76. From September 21, 2016 through to the present, Defendants

Six, Seven, and Eight acted with malicious intent, and from September

21, 2016 until his retirement sometime in or around the spring of

2017, Defendant Fourteen acted with malicious intent, by allowing

the following living conditions in NJSP's Administrative Segregation

Uni~, 7-Wing, to remain unchanged.         All of said Defendants had

personal knowledge of the previous and following conditions from

seeing it first hand, and in some instances for Defendants Four,

Six, Seven, Eight, and Fourteen having ordered it to take place

and then remained deliberately indifferent after having been notified

of the situations, conditions, and impacts listed in this complaint.

     77. From September 21, 2016 through to the present, Defendants

One, Six, and Seven have been deliberately indifferent to the

previous and following conditions that were and/or are still in

effect throughout the DOC system.

     78. From September 21, 2016, until he was no longer Governor

of New Jersey in t!.e winter of ?01°, Defendant Three was deliberately

indifferent to the nrevious and following conditions th~t were in


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effect throughnut the    10~   system and had been brou~ht to \is
attention thrnugh legal notices and other means.
     79. ¥rom September 21, 2016, until he was no longer Commissioner
of New Jersey DOC sometime in or around the spring of 2018. Defendant
Four was deliberately indifferent to the following conditions that

were in ef&ect throuRhout the DOC system after th 0 y had been brou~:ht

to his atten~ion through legal notices and other means.
     80. Since taking over as Governo~ of New JPrsey in the winteT
of 201~. Defendant Two was deliberately indiffere~t to the previots
anrl following conditions that were in etfect throughout the DOC
system, after having been brought to his attention thrnugh leRal
notices and other means.
     81. Since taking over as Cnmmissioner of New         1
                                                              erRey DOC sometime
in or around the spring of 2018, Defendant Five was deliberately
indirforent to th~ previnus and following con~itions that were and
still are in effect throughout the      nor   system, after havinQ been

notified following his inAuguration through legal noticee and other

means.
     82. The following conditions and previously listed applicable
conditions of confinement have resulted in cruel-and-unusual
punishment in ~iolation of the Eighth Amendment to the United States
Constitution, and have violated DOC-confined Plaintiffs' religious
rights under the Federal and State Constitutions, the New Jersey
Torts Claims Act, and the Religious Land Use and InstitutionalizPd

Persons Act of   ~uoo.
     83. The previous And ~ollowing applicable conditions of


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con~inement led to depriving Plaintiffs of being able to purify

themselves, eat ritual meals, fast, read their religious literature,

meditate, perform rune yoga and other ritual exercise, create

religious art and writing, perform personal research rituals, have

personal privacy for ritual purposes, and perform sleep-and-dream

rites, which were among the only potential forms of religious

activities they might have been able to perform in their cells anc

elsewhere if not for the following conditions.

     84. In New Jersey State Prison in the town of Trenton

(hereinafter "NJSP"), the Administrative-Segregation unit

(hereinafter "ad seg") is subjected to, and has been subjected to

extremelv cold conditions since September of L"l6, as a result of

many windows having been broken, gaps in wi-dow jams, broken window

hinges, openings in the exterior walls, lack of weather stripping,

lack of insulation, open exhaust      fans not being properly sealed

up, and an insufficient heating system that has several sections

that were either shut off or removed from the system.

     85. An old heating system t~at was no longer working ha~

openings that allowed air to rush in from outside in large amount:3.

The unit was eventually removed, and the openings were }Aft

completely open, which made it get even colder since at least

September 21, 2016.    It often got so cold in ad seg in Trenton th11~

the water in the toilets froze and coffee that was placed on the

shelves after breakfast would be frozen within a few hours after

having been served.

     8n. Many of the same problems that cause the Axcessiv~1y cold


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temperatures are also the cAuse~ of an insect and rodent infestation.

Nothing protect~ thP prisoners from insec•s and rodenta entering

and !Paving the building at will.

     87. The showers in NJSP and Northern State Prison ("NSP") ad

seg were/are so hot that they could not be used.

     88. During the warm parts of the year in NJSP ad seg and EJSF

population and pre-hearing detention areas, there was a lack of

ventilation, leading to excessive heat, which resulted in mildew

and visible mold in the cells, showers, and housing units.              ClothEs

and bedding could not be dried, and fungal outbreaks were ubiquitc,us

within all clothing and bedding, and on Plaintiffs bodies.

     89. There are constant problems with insects and rodents w1ttin

all areas of NJSP, NSP and EJSP       There are no screens and/or brokEn

screens in all windows in the West Compound of NJSP and all parts

of EJSP, and there are cracks in the walls of all parts of NJSP,

NSP, EJSP, and Southwoods State Prison ("s.s.P.") where ants and

other insects enter the buildings.          Bug bites are regular, and in

some seasons there is never a moment when Plaintiffs do not suffe1

from dozens of bug bites a day.

     90. Additionally, an excessive amount of food waste is throwr;

out of the cell doors in NJSP ad seg, where the insects and rodents

are drawn.   There are long periods between prisoners in the cells

being able to remove trash from their cells, and there are long

periods between the trash on the ground being removed.           This

contributes to the infestation.

     91. Cells in the West Compound of NJSP and all areas of EJSP

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have leaks in the ceilings causing rusty water and in some cases

sewage to drip down onto the bunks where Plaintiff are sometimes

dripp•d on while trying to rest or sleep.

     92. Cells, bunks, gates, bars, shelves, and all surfaces in

the West Compound of NJSP and all areas of EJSP are covered in rust

that gets on every thing.      Plaintiffs' clothes and bedding are

Rtained with rust, and it gets in their food and eyes.

     93. Other than using c~mm~n~ty laundry in the         oor,   there i~

no place to do laundry.     Buckets use~ t~ b'" handed out-, '.:, t have

no• ~,•en being given out for several years and are taken upon beinP

shipped between prisons or moved to ad seg.         Laundry bags are no

longer given out and must be purchased, but they are easily ripped

and torn within the first three uses.        Between laundry anrl hetween

being able to P''   hase new laundry bags, there is no place to -lo

laundry and no laundry deter~ent that is in keeping with Plaintiffs'

religious beliefs that they must use only natural s~aps and

detergents.   In ad seg, no state pay is given, and only $15 can

be spent, so laundry bags (which cost nearly five dollars) iannot

realistically be purchased.

     94. There are no places in the DOC shower areas where towels

and clothes can be hung, or where soap and shampoo can be set, other

than the dirty floors.

     95. Almost all of the showers and shower areas in NJSP, NSP,

and EJSP have blocked drains or clogged drains that result 1n tlocded

shower areas where Plaintiffs are forced to either stand in water

from other prisoners' shower fallout or to forgo showering.


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     96. Showers in ad seg are as long as three days apart, which

is insufficient during hot periods, and it is the only time when

Plaintiffs have access to warm water to perform their purification

rituals.

     97. Plaintiffs are not provided with or given the ability to

purchase natural soaps and detergents in keeping with their r~ligious

beliefs, so they cannot clean their bodies, clothes, bedding, and

eating/drinking containers and utensils.        There is no access to

natural cleaners for toilets and sinks, despite that Plaintiffs'

beliefs require them to use only natural cleaners.

     98. There is no access to warm water in the West compound of

NJSP or most parts of EJSP, so even if Plaintiffs were provided

with a bucket and natural soaps and detergents, they would not be

able to rinse their bodies, clothes, and eating/drinking containei·s

and utensils.

     99. There are no lids on the toilets any place within the DOC,

and the toilets in the cells splash human waste all over the cell:,,

all over Plaintiffs, and all over Plaintiffs' bodies a,d belongings.

This prevents Plaintiffs from ever being able to purify themselves

to perform any of their religious obligations.

     100. Light bulbs in the West Compound of NJSP and all over

EJSP are insufficient for reading and writing personal and legal

work, and as a religious cla!m it also prevented Plaintiffs from

being able to perform their obligatory religious rites, including

but not limited to personal research, writing, ana ~rt obligation:~.




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     101. In NJSP and NSP, recreation in ad seg is between once

every five days and once every six days, respectively.           This is

insufficient for physical and mental health, and it is worse            in

the NJSP cells in 7-wing, which are approximately four and a half

feet hy six and a half feet, with a two-foot hunk on one wall and

a one-foot shelf on the other wall, leaving approximately a foot

and a half by of six and a half feet of "walking" space.            There

is no room in the cPlls for recreation, and Plaintiffs are often

subjected to several months at a time and even several years at

a time to life in these cells witb onlv one yard movement per wee~

at most.   The long-term impact is detrimental to physical hea]th

and mental health.     Yard movements are often canceled several timfs

in a row due to weather, power outages, and numerous other factorf.

     102. The DOC has a sanction called Loss of Recreation PrivilEges

("LORP'') that was originally used to prevent prisoners from attencing

incentive recreation programs for certain periods of time.            While

she was an acting administrator at New Jersey State Prison, Defencant

Number Six changed the policy so it hegan heing applied to genera:

recreation movements.     Since then, it is customary to give out LOFP

sanctions of at least 30 days in a clip, an~ often sanctions of

365 days LORP at one time.      There are also many instancPs when

consecutive LORP sanctions are given out, and some Plaintiffs are

sulijected to literally several years of no form of recreation, or

so little recreation that it is not even possihle for them to w8ll

around without experiencing pain after havinQ lost ~o much muscle

mass and suffered such extreme back pain from heing confined to


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their hunks without actual walking or stretching space.

       103. There are portions of ad seg in NJSP where no sunshine

enters the cells.    The first-floor areas without sunlight are

referred to as "the dungeon."       Being housed on the flats for I-tier,

2-tier, 7-tier, and A-tier for any length of time subjects Plaintiffs

to a complete lack of any sunlight, including indirect sunlight,

resulting in Vitamin n deficiencies, Seasonal Affective Disorder,

and other physical and mental ailments.        Because Plaintiffs must

sometimes become vegans for religious purposes and are not given

access to sunlight, they have no source of Vitamin D and their bodies

cannot synthesize it without sunlight.

       104. disposable spoons and forks are not sold or providPd in

ad seg.    At best one spoon is given upon entering .. (i seg.      /\fter

that, no others are provided, and there is no way to wash the spoon,

which become stained, worn, and useless within a week.

       105. In all of NJSP, onlv two disposable spoons are able to

be purchased per month, despite that the spoons are meant for only

one use.    In EJSP, no spoons are sold; one is given out in the mess

hall, hut it is not allowed to be taken back to the cell.

       106. There is no way for Plaintiffs to eat in the mess halls

within the f)OC because Plaintiffs religions require them to wash

their hands immediatelv before eating, and there are no places for

them    to wash their hands in NJSP after they have touched

contaminated doors upon entP-ring the mess hall; moreover, Plaintiffs

are not ahle to have access to anv soap, let alone any natural socp

within any of the mess halls in the DOC.


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       107. Disposable cups are not sold or provided in ad seg.             At

best one is given upon entering ad seg.            After that, no others are

provided, and there is no way to wash the cups, which fall apart

within a week.

       108. There are no pjllows in the ad seg cells, and they are

taken from Plaintiffs once they enter ad seg.            This has resulted

in loss of sleep as a phvsical jnjurv, which has resulted in

consequential mental anguish, and it has resulted in neck and

shoulder pain that often does not      go    away at a]l after ad seg.

       109. The mattresses in all of the prisons within the DOC end

especially within ad seg in ~JSP, NSP, And FJ~P are so worn out

that sleep is nearly impossible, constantly being on the huns causes
                                              1
long-lasting severe pain in P]aintiff8            hacks, hips, necks, and

knees.     Mattresses are not rPplaced often enough.

       110. There is no safe place to sit in any of the cells in the

DOC.     Aside from this heing a clajm in and of itself because it

has resulted in permanent slouching and neck and back pain, it is

also a religious claim because Plaintiffs are required to sit in

a hiph chair for one religious rite, on a three-legged stool for
another rite, and on a me~itation pj]low for another rite.

       111. There is no room in the    nor   celJs where Plaintiffs can

perform Rune Yoga, which thev must do every day, an<l which requires

them to be ahle to stretch their hodies all the way out on full-size

mats that are the same length as their bodies and outstretched hands.

Plaintiffs are not given time and space outside their cells or access

to yoga mats to perform these rites.


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     112. ThPre is no place to write, paint, and draw in any nf

the cells jn the DOC.      Plaintiffs are required to perform rites

that involve writing, painting, and drawjn~ for long periods of

time every single <lay, hut this is not possihle in any of the ceJ:s,

and Plaintiffs are not given the ability to leave their cells to

perform these rites in any other places •        In con tr as t , Jewish in m,, t es

are permitted to leave their CP11s at least five times a week at

FJSP and in some instances more often to perform Jewish rites.

Aside from being claim.s hy themselves, thE-se are advanced as clair's

of disparate treat~ent regarding these issues and the previous cli,ims

related to the aforementioned riailv rites for each of the days of

the weeks and the differePt rites for the deities the <lavs of the

"'eek are namer. after.

     113. There is no place to eat in the cells in the DOC, despile

that Plaintiffs are otten confined to anrl therefore reouired to

eat within thejr cel]s for long periods.         In ad se?, Plaintiffs

are forced to eat on their bunks with no place other than their

laos and mattresses to place trays that are alwost always covered

in spilled food.     ~heets are washed only once a week at best, and

often this is not even possihle when there is no access to a laundry

bag to get the sheets washet' ~ven if Plaintiffs were to go agains:

their beliefs and let their bedding be further contaminated by ot~er

people's soiled beddir.g and toxic detergents and chemically treat~d

water.   PJankets are washed only every six months.           Between washings,

blankets and sheets are covereA in food debris And splashes from

the uncovered toilets for months ~ta time.


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these problems, pain, end ailments, Dpfendant Thirteen refuses to

treat Plaintiffs with natural remedies that are in agreement with

Plaintiffs' religion.

     117. ~hen the statutes, policies, and procedures for

Administrative Segregation within the DOC were approved, conditions

were completely different.     ~ow, it is atypical confinement,        but

the cumulative impact of long-term ad seg sanctions is still enfo:·ced

despite that the nue process protections for handing out said

sanctions have hPen lessened rather than h~ightened.

     118. The DOC changed it~ policy on how long Plaintiffs can

be subjected to ad seg, but they rlid not change the ability to st11ck

on consecutive sanctions that equal out to being much longer then

what the nnc dPfendants already now to hp detrimental to physical

and mentaJ health, anrl thrv rlirl not Pnsure that at least two

P]aintiffs who had already been in arl seg for JongPr than the tim1·

consjdered to he safe were not removed or entered into a step-dowr;

program or h8d their cumulativP times amended, or ensur~d thev we:·e

released or evaluated for nhysicaJ and mentAJ damage after the

extensive stavs, despite that most of these measures were taken

for other prisoners.

     119. There js excessive noise in ad seg in NJSP, and there

is no way for Plaintiffs to ever meditate or perform personal

research rjtes, and no way for them to sleep.         Longterm exposure

to the excessive noise of bd seg over the course of sev~ral month,,

and longer has led to phvsical dages of lost sleep, and consequen·:ial

mental suffering.
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         120. The administration at NJSP pays for cahle television

packa~es that have several choices of educatjonal and entertainrne11t

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to provide all of the stations that are available.                                             They omitted

educationRl stations jn place for rhristian anrl Jewish rPligious

stations, despite that there are no attempts to provide religious

programming for Plaintiffs.

         121. Plaintifcs are ~eprived of the ability to purchase safe

toothbrushes and flossing materials or have access to them.                                                  Oral

hygiene is a wandatory part of Plaintiffs' sincerely held beliefs,

as they be!ieve the god Thor diPd from smelling the foul                                               breath

of the World Serpent, and they believe had breAth impedes                                                 their

ability to reach full states of rnedit~tion.                                   T~roughout the DOC,

there is only one toothbrush that is manufactured for the nurrose

of being used more than one time.                            Tt is a soft-hristled security
brush that is flexible and has a short handle.                                        It i.c;; given out

to prisoners when they first enter into Rayside State Prison.                                                   This

toothbrush is not 8old anywhere and is not nrovided anywhere else

in the prison.             The only toothbrush sold is the same size but it

is meant for only one use, it has hard bristles, and it is dangerous

even on the first use because it scrapes gums due to the stiff

bristles.          After more than one use,                      jts hrist)es become splayed

and they cut into the gums.                         The handle is not flexible, and the

company that makes the toothbrush has stated that it is not made

for rore than one use.                  ~evertheless, all prisons other than RayEide

State Prison provide the dangerous version upon entry, and the orly


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toothbrush for sale throughout the DOC is the <lan~erous one.                                                            In

most areas of the prisons, there is                             A      limit as to how many

toothbrushes can be ordereri and it is as little as two per month

in NJSP ad seg and ten per order in EJSP population.                                                   This allows

for only a limited amount of times that the dangerous toothbrush

can be used as it is intended, and leaves Plaintiffs unable to hrush

their teeth anywhere near as often as recommenrled by the American

rental Association (''ADA").                     Additionally, the ADA recommends

flossing at least once a day, hut this is not possible or is costly

throughout the DOC.               In NJcp, no form of floss is sold or provided.

In NSP and FJSP, dental loops are sold at costly prices.                                                         Defendarts

One through Seven are deliherateJy indifferent to this problem or

are responsible for it, and Defendant Rutgers deprives Plaintiffs

of dental cleanings as often as recommended by the ADA, which states

that it shou]d b~ done every six months.                                        Rutgers provides dental

cleanings only once everv two vears, and it fails to provide dentcl

hygiene products.            The short-term impact is bad enough, hut tbe

long-term impact for Plaintiff Castaldo and many of the other

Plaintiffs who are serving several decades behind hars has resultf,d

in permanent damaee to PJaintiffs' teeth and gums.

      122. Plaintiffs believe thev must perforffi religious practice,

"i n ] i eu of   t he   i'1 o s t - S a c r e d P i t e s • "       J;' o r   t h o u s a n ct s o f   y   ear   E: ,   t be

most-sacred rites for pagans involved preparing for war or for th1·

hunt, the exercise of war or hunting. and the calming-down rite

of the so-called "warrior's repose" (that is, copulation with                                                            R


memher    of the opposite sex).                      Plaintiffs believe replacing these


                                                          41
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rites in the prison svstern is nece.ssary ir, orrler for;,

to attajn spiritual halance.      In modern times for mature adults

in the free world, war is no longer practicerl,        but it is replaced

with exercise for Organic Pagans.         The rite of hunting is stiJl

practiced hy pagans, but it obviously cannot he practiced for

Plaintiffs in the prison svstem.        P]ajntiffs within the prison syEtem

are not asking to he able to     go   to war, hunt, or have sexua! contact

wjth members of the opposite sex.         Jnstead, they are asking to

replace ~ar with anrl huntjng with exercise, and to replace the rite

of sexual intercourse with priv3te space and private time with

stim11lating images to gain re~ease for religious and health purposes.

     123. Plaintjffs have been suhjectPd to removal of tobacco frrm

the l:OC without being 2iven Any treatment to deal with the withdrPwJs

they experience, and nothin? has heen done hy the DOC and State

staff, or those notified, or Putgers to address this matter, whic~

is still gcing on every time Plaintiff see ci?arettes on the

television and smell smoke on staff.



                            JPAY-Pelated Claims

     123. Defendant Number Fifteen has insta]led         kiosks throughout

the prison system.     Plaintiffs are Jimited to only one 20-minute

session each time they are granted the Ability to use the kiosk,

~hich PlAintiffs must use in order to access the l'OC grievance

system, check their e-mails, check their prison accounts, si?n up

for programs, s11hmit sick-cAll requests ancl other me<l:ical requestE,

access the news stand, orrler and download m11sic and hooks, and enter


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JPAY    trouhle tickets.

        125. In most instances, P~aintiffs are limited to onlv one

or two 20-minutP kiosk sessions per week, and sometimes less than

that.     Plaintiffs often have to forfeit recreation, mess movements.

and religious study groups or other such passes in order to access

the kiosk system, which further interferes with grievances, etc.

        126. Defendant Numher Fifteen's ~iosk orogrRm a]lnws access

to DOC grievance svstem.           Plaintiff9 often have prohlems using the

grievance system hecause the kios~s are frozen or otherwise not

in workinf order.      1·/ hen   t be k i o s ks a re i n wor k i n g or d E r , t he sys t e, r.

often fails to record what was typpr,, an<l instead orovides a notic,~

explaining that the grievance filing was not entered into the syst!m.

The kiosks often freeze for several minutes in each session leavini

only a verv small amount 0f time to use the grievance system.

        127. Plaintiffs must choose between accessing the grievance

system or check their e-mai]F, check their prison accounts, sign

up for programs, submit sick-call requPsts Anrl other medical

r~quest8, accPss the news stand, games, and card or~ers, order and

downloarl music and books, enter JPAY trouhle tickets, and so forth.

        12>-i. Even if Plaintiffs were to forego using the other options

on the kiosk And devotP their short 20-minute sessions exclusively

to accessing the grievance system, some of this time must he spent

reading the previo11s resnonses from prior suhmissions, so the time

is limited.

        129. The adn,inistrat:ions At         NJSP,    NSP,   and FJ~P rarely (if

ever) answer hard copies of inquirie8, grievances, appeals,                             and


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merlical slips, ant:l restrict Almost a]l of their responses to the

entries that ar~ submitted on the kiosks.

     130. In many instances, especially jn ad seg, hard copies of

the inquiry, grievanc~, eppeal, and mAdical slips are even han~ed

out by staff members.

     131. Consequently, the grievance and medicaJ systems are limited

as a result of      .here not being enou~h kjosk machines, the machines

oftert being down, Plaintiffs heing provided insufficiPnt time to



for only griFvance and medical issues, staff members failing to

hand out and answer hard copies of grievance and medical forms,

and the ad~inistrative and downt0wn DO( defendants heing deliberately

indifferent to these issues.

     13 2 •   De fend ant   Fi ft e en Ad v er t i sect a JP s   Ji 1 a   ye r   (   "ta h 1 et " ) to

Plaintiffs.      The advertisemPnt c]aimerl thP tah}et would come with

a power cord and would offer an P~-stereo function.                                  After Plaintiffs

hari purchRsed the tahletP, they realized tbere ··as no vower cord

and there was no reception on the FM-stereo function.                                  ConsequentJy,

the only way for Plaintiffs to use the tah,et is to nay for batte1ies

and purchase music, etc.            Plaintiffs are )imited to only a certair

amount of batteries they can purchase, so thev are limited as to

how often they can use this product after the hait-anrl-switch salfs

tactics had been achi~ved.

     133. The only hatteries provi~ed hy Defendant Fifteen and so: d

in the DOC are non-rechargable, and these hatteries state on thei:·

sirles on the packages th2t they wj]] exploct~ if they are charged.
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The kiosks charge the batteries when they tah]ets are hooked up

for downloading, and Plaintiffs must downloerl frequentlv in order

to prevent the tah]ets from 8hutting down.          As a result, the

hatteries often rupture anrl leak hattery jujces into the tahlets,

causing them to stop working.      Additionally, if new hatteries are

in the tahlets when thev are hooked up to thP kiosks, the power

from the batteries and form the charge the kiosks provide comhine

to equal too n1uch power for the tablets, which re&ults in the tab~ets

being ovErloaded and nut working.

     134. Defendant Fifteen has a warrentee for their tablet and

headphones that cannot l•e read until Rfter the prorluct hPs been

p11rchased, and there is no notice of how to operate the tablet or

access the warrantee infnr~aticn.

     1J5. It takes several weeks and sometimes months for Defenda1t

Fifteen to approve rcolacin? tablets and sPnding them when it is

~jthin the warrantee period.      During Jong periorls when Plaintiffs

have l1een without their tah]ets,     they have not heen ahle to access

the music and other optione thev paid for, and thev must use their

short 20-minute kiosk sessions tn read their e-maiJs, a~dress the

JPAY trouble-ticket issues, end otherwise not have time to access

the grievance and medical systems on the kiosks.

     136. Some P]aintiffs have harl several tablets explode and have

gone several m0nths without tahlets while waitin~ to 2et replacerents

and/or waitjng to affor~ to purchase new tablets when Vefendant

Number Vifte~n claims the warrantees have run out.

     137. Plaintiffs have heen injured       8~   stated jn this comp]ajrt


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and the attac~ments, anf as infPrred.

           13P. Plaintiffs seek relief in the form of a pre]iminary

injunct:i0n ordering f,efenclants to 1) ?rant rJaintiffs in the I 0C                                        1




e q u al    ti n1 e   r1   n d space for o 11 t rl o or rel i g i cu s s Pr v :i c es , a 1 1 ow P1 a i n t i f f s

to temporarily order and pay for their own organic food,                                        pure sprin~

water, natural soap and deter2ent, meditation mats anrl pillows,

and the other items and means necPssarv for P~aintiffs to perform

ritual purification and their other rites as described in the

attached appendix, and 3) a]Jow Plaintiffs to either be placed jp

single cells or to have 011tions to choose ce]1~ates who practice

the same ritual hygiene Jaws And rion't display cr0sses and other

hate symhols or sin2 anv oposing re]igious son2s that interfere

with Plaintiffs' ahility to meditate in peace and live in a

~etaphy~jcaJly clean livin~ area.                                Plaintiffs also see~ a tempora1y

restraining order preventing refenrlants fro~ shjppinP 0ny of the

P]ainti ffs out of F.JST' e.s threatenr-d                         hv Pcfend?nt F]r-v,~r.            c   1



also seek jnjunction.s and c!eclaratorv Tf'.1i<>f that                               ,q]J0;,c   1_,.

practice their religion as descrihed in this complaint anrl their

Organic Pagan litPrature.                         P]aintjffs additionallv seek punitive

relief, compensatory relief, nominal re]jef, and any other relief

availablE·.

           13~. I hereby certify that the foregoing claims are not the

product of any other case or controversy surrounding the facts of

this case from ~eptember 21, 201h until present.                                     I a)so certify

that the foregoin2 statements marle hv me are true an<l correct.

1 understand that I am suhject to punishment if any of the foregoing


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statements are willfully sworn false.




Date<l: September   2n,   2fll 8




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